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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                                           Case No. 1:25-cv-10810-DJC


STATE OF CALIFORNIA; STATE OF
NEVADA; COMMONWEALTH OF
MASSACHUSETTS; STATE OF ARIZONA;
STATE OF COLORADO; STATE OF
CONNECTICUT; STATE OF DELAWARE;
STATE OF HAWAII; STATE OF ILLINOIS;
STATE OF MAINE; STATE OF
MARYLAND; PEOPLE OF THE STATE OF
MICHIGAN; STATE OF MINNESOTA;
STATE OF NEW JERSEY; STATE OF NEW
MEXICO; STATE OF NEW YORK; STATE
OF RHODE ISLAND; STATE OF
VERMONT; STATE OF WISCONSIN,

                  Plaintiffs,

v.

DONALD J. TRUMP, in his official capacity
as President of the United States; PAMELA
BONDI, in her official capacity as Attorney
General of the United States; UNITED
STATES ELECTION ASSISTANCE
COMMISSION; DONALD L. PALMER, in
his official capacity as Chairman of the U.S.
Election Assistance Commission; THOMAS
HICKS, in his official capacity as Vice Chair
of the U.S. Election Assistance Commission;
CHRISTY McCORMICK and BENJAMIN
W. HOVLAND, in their official capacities as
Commissioners of the U.S. Election
Assistance Commission; PETE HEGSETH, in
his official capacity as Secretary of Defense,

                 Defendants.




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MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO TRANSFER
    AND CONSOLIDATE OR, IN THE ALTERNATIVE, MOTION TO STAY

       On March 25, 2025, President Donald J. Trump issued an Executive Order entitled

“Preserving and Protecting the Integrity of American Elections.” See Exec. Order No. 14,248, 90

Fed. Reg. 14005 (Mar. 25, 2025). Plaintiffs in this action are nineteen States (“Plaintiff States”)

who claim that certain provisions of the Executive Order are unconstitutional, ultra vires, and

violative of separation-of-powers principles. See Compl. ¶¶ 1-37. Three cases that challenge the

same provisions of the Executive Order for the same reasons are already pending in the U.S.

District Court for the District of Columbia (the “DDC cases”). In the order in which they were

filed, the DDC cases include: League of United Latin American Citizens et al. v. Executive Office

of the President et al., Case No. 25-cv-00946 (filed on March 31, 2025), attached as Exhibit 1;

Democratic National Committee et al. v. Donald J. Trump et al., Case No. 25-cv-00952 (filed on

March 31, 2025), attached as Exhibit 2; and League of Women Voters Education Fund et al. v.

Donald J. Trump et al., Case No. 25-cv-00955 (filed on April 1, 2025), attached as Exhibit 3.

       Because of their commonalities, on April 3, 2025, the DDC cases were consolidated before

Judge Colleen Kollar-Kotelly to “promote the interests of judicial economy, consistency,

timeliness, and convenience for the parties by reducing the need for duplicative briefing, argument,

and analysis regarding overlapping issues.” See Memorandum Opinion & Order (Kollar-Kotelly,

J.), attached as Exhibit 4. For the same reasons, this case filed by the Plaintiff States should be

transferred to the District of Columbia and consolidated with the DDC cases.

       Alternatively, should this Court decline to transfer this case to the District of Columbia,

this Court should exercise its discretion to stay this case pending resolution of the DDC cases.




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I.     BACKGROUND

       In their Complaint filed on April 3, 2025, the Plaintiff States challenge the legal force of

the Executive Order. They allege the Executive Order “usurps” the constitutional power of the

States and Congress to regulate elections. Compl., ¶¶ 4, 46, 50-58. They also allege the Executive

Order directs the U.S. Election Assistance Commission to take action that is, in their view, contrary

to the National Voter Registration Act (“NVRA”). 1 Compl., ¶¶ 59-78. The Plaintiff States take

specific issue with the provisions of the Executive Order that require documentary proof of United

States citizenship in registering to vote:

       a.       Section 2(a), which requires the Election Assistance Commission “to require, in its

                national   mail    voter     registration   form   issued   under    52   U.S.C.   §

                20508…documentary proof of United States citizenship”;

       b.       Section 2(d), which orders the “head of each Federal voter registration executive

                department or agency” to “assess citizenship prior to providing a Federal voter

                registration form to enrollees of public assistance programs”;

       c.       Section 3(d), which orders the Secretary of Defense to “update the Federal Post

                Card Application, pursuant to the Uniformed and Overseas Citizens Absentee

                Voting Act…to require documentary proof of United States citizenship” and “proof

                of eligibility to vote in elections in the State in which the voter is attempting to

                vote”;

       d.       Section 4(a), which orders the Election Assistance Commission to “cease providing

                Federal funds to States that do not comply with the Federal laws set forth in 52 §

                U.S.C. 21145, including the requirement…that States accept and use the national



       1
           52 U.S.C. §§ 20506, 20508.
                                                    3
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                mail voter registration form…including any requirement for documentary proof of

                United States citizenship adopted pursuant to Section 2(a)(ii) of this order”;

       e.       Section 7(a), which directs the Attorney General to take all necessary action to

                enforce 2 U.S.C. § 7 and 3 U.S.C. § 1 against States that violate these provisions

                by including absentee or mail-in ballots received after Election Day in the final

                tabulation of votes for the appointment of Presidential electors and the election of

                members of the United States Senate and House of Representatives; and

       f.       Section 7(b), which orders the Election Assistance Commission to “condition any

                available funding to a State on that State’s compliance with the requirement…that

                each State adopt uniform and nondiscriminatory standards within that State that

                define what constitutes a vote and what will be counted as a vote, including

                that…there be a uniform and nondiscriminatory ballot receipt deadline of Election

                Day for all methods of voting, excluding ballots cast in accordance with 52 U.S.C.

                §§ 20301 et seq.”

Compl., ¶ 49.

       The DDC cases challenge the same provisions for the same reasons using the same

language. 2 To start, each set of DDC plaintiffs argue the Executive Order violates constitutional




       2
          As just one example, the opening sentence of each DDC case is nearly identical to that of
the Plaintiff States’ Complaint and conveys the same sentiment. Compare Compl., ¶ 1 (“The
President’s constitutional role in elections is limited to competing in them and enforcing election
laws enacted by Congress”) with Exhibit 1, ¶ 1 (“Under our Constitution, the President does not
dictate election rules”); Exhibit 2, ¶ 1 (“In the United States of America, the President does not get
to dictate the rules of our election); Exhibit 3, ¶ 1 (“In the President’s Executive Order of March
25, 2025—“Preserving and Protecting the Integrity of American Elections” (the “Executive
Order”)—the President attempts to usurp the power to regulate federal elections from Congress,
the States, and an independent agency to which Congress delegated certain limited
responsibilities”).
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separation-of-powers principles by intruding on the prerogatives of Congress and the States. See

Exhibit 1, ¶ 35-36; Exhibit 2, ¶¶ 126-163; Exhibit 3, ¶¶ 107-13. Next, like the Plaintiff States,

the DDC plaintiffs allege the Executive Order requires the Election Assistance Committee to take

actions that are contrary to the NVRA. See Exhibit 1, ¶ 70-102; Exhibit 2, ¶¶ 174-77; Exhibit 3,

¶¶ 119-21. Finally, like the Plaintiff States, the DDC plaintiffs have focused arguments on the

provisions of the Executive Order that require documentary proof of United States citizenship in

registering to vote. See Exhibit 1, ¶¶ 184-193; Exhibit 2, ¶¶ 78-84; Exhibit 3, ¶¶ 62-81.

       Further adding to their commonality, the DDC plaintiffs seek relief against many of the

same defendants named by the Plaintiff States: Donald J. Trump, in his official capacity as

President of the United States or the Executive Office of the President; the United States Election

Assistance Commission; Donald L. Palmer, in his official capacity as Chairman of the U.S.

Election Assistance Commission; Thomas Hicks, in his official capacity as Vice Chair of the U.S.

Election Assistance Commission; and Christy McCormick, in her official capacity as a

Commissioner of the U.S. Election Assistance Commission.

II.    ARGUMENT

       A.      The Court Should Transfer This Case To The District Of Columbia For the
               Convenience Of The Parties And Witnesses And The Interest Of Justice.

       28 U.S.C. § 1404(a) provides: “For the convenience of the parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought.” In deciding a motion to transfer venue under Section 1404(a),

courts engage in a two-part inquiry. See Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988).

First, the court must determine whether the action could have properly been brought in the

transferee court. Id. Second, after that initial determination, the court must undertake an

“individualized, case-by-case consideration of convenience and fairness.” Id.

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                1.      Plaintiff States Could Have Filed This Action In The District Of Columbia.

        There is no dispute that the Plaintiff States could have filed this action in the District of

Columbia. 28 U.S.C. § 1391(e)(1) provides:

        A civil action in which a defendant is an officer or employee of the United States
        or any agency thereof acting in his official capacity or under color of legal authority,
        or an agency of the United States, or the United States, may, except as otherwise
        provided by law, be brought in any judicial district in which (A) a defendant in the
        action resides, (B) a substantial part of the events or omissions giving rise to the
        claim occurred, or a substantial part of property that is the subject of the action is
        situated, or (C) the plaintiff resides if no real property is involved in the action.

Id. Here, not only do all the government Defendants reside in or are headquartered in the District

of Columbia, but a “substantial part of the events or omissions giving rise to the claim” occurred

in the District of Columbia. The Executive Order which gives rise to this action was issued in the

District of Columbia. Because the Plaintiff States could have filed this action in the District of

Columbia, the Court should engage in the “individualized” consideration as to whether

convenience, fairness, and the interests of justice dictate that this case should be transferred to the

District of Columbia. In short, they do.

                2.      Convenience, Fairness, And The Interest Of Justice Support Transferring
                        This Case To The District Of Columbia.

        The decision to transfer a case pursuant to Section 1404(a) is within the discretion of the

district court. See Codex Corp. v. Milgo Elec. Corp., 553 F.2d 735, 737 (1st Cir. 1977). In making

that determination, the court must balance several factors, including plaintiff’s choice of forum.

See Boateng v. General Dynamics Corp., 460 F. Supp. 2d 270, 275 (D. Mass. 2006). “A

presumption in favor of plaintiff’s choice of forum exists, and the burden of proving that transfer

is warranted rests with the defendant.” Id. “Other factors to consider include the convenience of

the parties and witnesses, the availability of documents and the interests of justice.” Id. That said,

as pointed out by the First Circuit, these factors are “illustrative rather than all-inclusive.” Iragorri

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v. Int’l Elevator, Inc., 203 F.3d 8, 12 (1st Cir. 2000); see also Coffey v. Van Dorn Iron Works, 796

F.2d 217, 219 n. 3 (7th Cir. 1986) (noting that “these factors are best viewed as placeholders for a

broader set of considerations, the contours of which turn on the particular facts of each case”).

       This Circuit has broken down the statute’s three enumerated grounds for relief into

additional sub-factors that include: the location of the operative events in the case, the cost of

obtaining witnesses, location of counsel, ability to compel attendance of witnesses, and the

accessibility and location of sources of proof, among others. See Coady v. Ashcraft & Gerel, 223

F.3d 1, 11 (1st Cir. 2000); see also Jackson Nat. Life Ins. Co. v. Economou, 557 F. Supp. 2d 216,

220 (D.N.H. Apr. 30, 2008).

       Of the factors enumerated by Section 1404(a), the convenience of expected witnesses is

“probably the most important factor, and the factor most frequently mentioned.” Boateng, 460 F.

Supp. 2d at 275 (internal citation omitted). In considering this factor, the court looks at “the

number of potential witnesses located in both the transferor and the transferee district, the nature

and quality of their testimony, and whether the witnesses can be compelled to testify.” Id. Here,

all government witnesses are in the District of Columbia. In contrast, the Complaint does not

identify any witnesses who reside in Massachusetts. Likewise, all government Defendants are in

the District of Columbia. The Commonwealth of Massachusetts is but one of nineteen Plaintiffs,

and the Complaint could have been brought in the district for any of the other eighteen Plaintiffs.

The District of Massachusetts appears to have been selected at random, 3 without any meaningful

ties to the District, which diminishes the weight given to the Plaintiff States’ choice of forum. See

United States ex rel. Ondis v. City of Woonsocket, 480 F. Supp. 2d 434, 436 (D. Mass. 2007)




3
 The ties to the Commonwealth of Massachusetts are no greater than the ties to the State of
California or the State of New Jersey, for example.
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(“[w]here the operative facts of the case have no material connection with this district, plaintiff’s

choice of forum carries less weight”). To that end, the convenience of the parties and witnesses

weighs heavily in favor of transfer to the District of Columbia.

       The other factors weigh in favor of transfer as well. This case arises out of an Executive

Order that was issued in the District of Columbia. Lead counsel for the government Defendants

is in the District of Columbia.       Witnesses can be compelled in the District of Columbia.

Documentary evidence and other sources of proof are in the District of Columbia.

       Moreover, the interests of justice favor transfer. As recognized by the Supreme Court,

construing Section 1404 to “permit[] or require[] parties to try their issues in a single ‘civil action’

in a court where it ‘might have been brought’…merely carries out [the statute’s] design to protect

litigants, witnesses, and the public against unnecessary inconvenience and expense.” Continental

Grain Co. v. The FBL-585, 364 U.S. 19, 27 (1960). And, as recognized by the Eastern District of

New York, “courts consistently recognize that the existence of a related action in the transferee

district is a strong factor to be weighed with regard to judicial economy, and may be

determinative.” Williams v. City of New York, 03 Civ. 5342 (RWS), 2006 WL 399456, at *3

(S.D.N.Y. Feb. 21, 2006) (citing cases). “To permit a situation in which two cases involving

precisely the same issues are simultaneously pending in different District Courts leads to the

wastefulness of time, energy and money that § 1404(a) was designed to prevent.” Continental

Grain Co., 364 U.S. at 26.

       The declaratory relief sought by the Plaintiff States in this case is already being litigated in

the District of Columbia. The interests of justice would be best served by transferring this case to

the District of Columbia where all of the actions giving rise to Plaintiff States’ claims occurred,

the vast majority of witnesses and parties are located, and where three related cases in similar



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procedural postures before the same judge are located. For these reasons, this case should be

transferred to the District of Columbia.

        B.      This Court Should Consolidate This Case With The DDC Cases.

        A District Court may consolidate actions if they “involve a common question of law or

fact.” Fed. R. Civ. P. 42(a). Consolidation is best understood “not as completely merging the

constituent cases into one, but instead enabling more efficient case management while preserving

the distinct identities of the cases and the rights of the separate parties in them.” Hall v. Hall, 584

U.S. 59 (2018). The First Circuit employes a two-part framework for determining consolidation.

See Seguro de Servicio de Salud de P.R. v. McAuto Sys. Grp. Inc., 878 F.2d 5, 8 (1st Cir. 1989).

“The threshold issue is whether the two proceedings involve a common party and common issues

of fact or law.” Id. (emphasis in original). “Once this determination is made, the trial court has

broad discretion in weighing the costs and benefits of consolidation to decide whether that

procedure is appropriate.” Id. A motion for consolidation will usually be granted unless the party

opposing it can show “demonstrable prejudice.” Id. As stated by the Supreme Court, the ultimate

concerns to be balanced are “[w]ise judicial administration,…conservation of judicial resources

and comprehensive disposition of litigation.” Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co., 342

U.S. 180, 183 (1952).

        Here, there is no question that this case and the DDC cases “involve a common question

of law or fact.” As described above, all cases arise out of the Executive Order issued on March

25, 2025, and all cases seek declaratory relief that the Executive Order is unconstitutional—for the

same reasons. The DDC cases seek relief against many of the same defendants as those named by

the Plaintiff States in this case.




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       Because of the commonalties between the cases, consolidation before one judge would

promote the conservation of judicial resources and efficiency. That is particularly true where, as

here, the cases are in similar procedural postures, and the government defendants are being

represented by the same lead counsel in all cases. 4 There is no prejudice to the Plaintiff States,

whose rights will not merge or change. See Hall, 584 U.S. at 70 (“consolidation is permitted as a

matter of convenience and economy in administration, but does not merge the suits into a single

cause, or change the rights of the parties, or make those who are parties in one suit in another”

(quoting Johnson v. Manhattan Ry. Co., 289 U.S. 479, 496-97 (1933)). The consolidation may be

fashioned in such a way to permit the Plaintiff States to maintain their ability to brief the issues

separately from the other consolidated defendants; indeed, Judge Kollar-Kotelly has already

fashioned such an Order. See Order dated April 5, 2025, attached hereto as Exhibit 5.

       Because it “involve[s] a common question of law or fact” with the DDC cases and would

promote judicial economy, this case should be consolidated with the DDC cases already pending

before Judge Kollar-Kotelly in the District of Columbia. See Fed. R. Civ. P. 42(a),

       C.      Should This Court Decline To Transfer This Action To The District Of Columbia,
               This Case Should Be Stayed Pending Resolution Of The DDC Cases.

       Should this Court decline to transfer this case to the District of Columbia, this Court should

exercise its discretion to stay this case pending resolution of the DDC cases. The “power to stay

proceedings is incidental to the power inherent in every court to control the disposition of the

causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”

Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); accord Marquis v. F.D.I.C., 965 F.2d 1148, 1154




4
  Michael Gates, Deputy Assistant Attorney General, is lead counsel in the DDC cases and the
instant case. In each case the government defendants are in the process of responding to the
complaint.
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(1st Cir. 1994) (“It is beyond cavil that, absent a statute or rule to the contrary, federal district

courts possess the inherent power to stay pending litigation when the efficacious management of

court dockets reasonably requires such intervention.”). “How this can best be done calls for the

exercise of judgment, which must weigh competing interests and maintain an even balance.”

Landis, 299 U.S. at 254-55. To stay proceedings, “there must be good cause” for the stay, the stay

“must be reasonable in duration[,] and the court must ensure that competing equities are weighed

and balanced.” Marquis, 965 F.2d at 1155. And, “[e]specially in cases of extraordinary public

moment, the individual may be required to submit to delay not immoderate in extent and not

oppressive in its consequences if the public welfare or convenience will thereby be promoted.”

Landis, 299 U.S. at 256.

       Good cause to stay exists here. This case involves “great issues” that have “far-reaching

importance to the parties and the public” in that it concerns voter registration requirements across

the United States. Id. It presents the same legal question at issue in the DDC cases—namely,

whether the Executive Order is unconstitutional. Given the overlap, waiting for the decision in

the DDC cases would materially advance the outcome of this case. Indeed, courts often stay

proceedings pending the resolution of another case when doing so will “narrow the issues in the

pending case and assist in the determination of the questions of law involved.” Taunton Gardens

Co. v. Hills, 557 F.2d 877, 879 (1st Cir. 1977) (quoting Landis, 299 U.S. at 253–54); see also, e.g.,

Hewlett-Packard Co. v. Berg, 61 F.3d 101, 105 (1st Cir. 1995) (stating that one “typical reason”

for staying a case is to wait for the outcome “of a related proceeding”); Bechtel Corp. v. Local 215,

Laborers’ Int'l Union of N. Am., AFL-CIO, 544 F.2d 1207, 1215 (3d Cir. 1976) (“[A] court may

hold one lawsuit in abeyance to abide the outcome of another which may substantially affect it or

be dispositive of the issues.”); In re Fin. Oversight & Mgmt. Bd. for Puerto Rico, 335 F. Supp. 3d



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256, 262 (D.P.R. 2018) (“This Court finds that staying the instant proceeding until the District

Court…[has] an opportunity to rule in [related proceedings] serves both the interests of justice and

efficiency”). This Court should therefore stay this case pending resolution of the DDC cases,

which will “assist in the determination of the questions of law involved” and promote efficiency.

See Taunton Gardens, 557 F.2d at 879,

III.   CONCLUSION

       For the reasons described above, this Court should transfer this case to the District of

Columbia and consolidate it with the DDC cases. Alternatively, should this Court decline to

transfer, this Court should stay this case pending resolution of the DDC cases.

                                                     Respectfully submitted:

                                                     LEAH B. FOLEY
                                                     United States Attorney



                                              By:    /s/ Nicole M. O’Connor
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                                      7.1 CERTIFICATION

        I, Nicole M. O’Connor, hereby certify that I conferred with counsel for Plaintiffs via virtual
conference on April 23, 2025, prior to filing the instant motion. I was unable to resolve or narrow
the issues for review.

Dated: April 23, 2025                                         /s/ Nicole M. O’Connor
                                                              Nicole M. O’Connor
                                                              Assistant U.S. Attorney


                                 CERTIFICATE OF SERVICE

        I, Nicole M. O’Connor, hereby certify that I served a true copy of the above document upon
all counsel of record via this court’s electronic filing system and upon any non-registered
participants via first class mail.

Dated: April 23, 2025                                 /s/ Nicole M. O’Connor
                                                      Nicole M. O’Connor
                                                      Assistant U.S. Attorney




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